Case 1:25-cv-01281   Document 1-2   Filed 04/25/25   Page 1 of 2




        EXHIBIT B
                    Case 1:25-cv-01281           Document 1-2          Filed 04/25/25     Page 2 of 2


John Schnettler

From:                               noreply@opexustech.com
Sent:                               Thursday, March 27, 2025 12:25 PM
To:                                 EDF Info Transparency Team
Subject:                            [EXTERNAL] Receipt of EPA National FOIA Office FOIA Request

Categories:                         Yellow Category


Dear Erin Murphy,

Thank you for submitting your Freedom of Information Act (FOIA) request.

Your FOIA request was received by EPA's National FOIA Office. Case Number 2025-EPA-04812 has been assigned to the
request you submitted.

In all future correspondence regarding this request, please reference your case number.

Regards,

EPA National FOIA Office




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